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 3
                           UNITED STATES DISTRICT COURT
 4                        WESTERN DISTRICT OF WASHINGTON
                                    AT SEATTLE
 5
      BAO XUYEN LE, as Personal
 6    Representative of the Estate of Tommy Le;
      HOAI “SUNNY” LE; and DIEU HO,
 7
                            Plaintiffs,
 8
           v.                                           C18-55 TSZ
 9
      REVEREND DR. MARTIN LUTHER                        MINUTE ORDER
10    KING, JR. COUNTY; and KING
      COUNTY DEPUTY SHERIFF CESAR
11    MOLINA,

12                          Defendants.

13
          The following Minute Order is made by direction of the Court, the Honorable
     Thomas S. Zilly, United States District Judge:
14
           (1)   Having reviewed the parties’ Joint Status Report, docket no. 244, the Court
15 is persuaded that a scheduling conference is unnecessary. The scheduling conference set
   for September 24, 2020, at 10:30 a.m., is therefore STRICKEN; however, a status
16 conference concerning discovery and the related disputes outlined in the Joint Status
   Report is SET for October 15, 2020, at 10:30 a.m. Instructions for participating in the
17 status conference via the ZoomGov.com platform will be provided by email to counsel.

18         (2)    The Court hereby SETS the following dates and deadlines:

19
           JURY TRIAL DATE (10-15 days)                         April 19, 2021
20
           Discovery completion deadline                        February 1, 2021
21
           Dispositive motions filing deadline                  February 11, 2021
22

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 1
             Additional motions in limine 1 filing deadline             March 18, 2021
 2
             Agreed modified Pretrial Order 2 due                       April 2, 2021
 3
             Supplemental trial briefs, additional proposed
             voir dire questions, and additional proposed jury          April 2, 2021
 4
             instructions due
 5                                                                      April 9, 2021
             Pretrial Conference
                                                                        at 10:00 a.m.
 6
          (3)       The Clerk is directed to send a copy of this Minute Order to all counsel of
 7 record.
            Dated this 21st day of September, 2020.
 8

 9                                                        William M. McCool
                                                          Clerk
10
                                                          s/Karen Dews
11                                                        Deputy Clerk

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13
     1
14    The motions in limine deferred by Minute Order entered May 28, 2019, docket no. 192, remain
     deferred to the Pretrial Conference.
15   2
       The Agreed Pretrial Order shall be filed in CM/ECF and shall also be attached as a Word
     compatible file to an e-mail sent to the following address: ZillyOrders@wawd.uscourts.gov.
16   Notwithstanding Local Civil Rule 16.1, the exhibit list shall be prepared in table format with the
     following columns: “Exhibit Number,” “Description,” “Admissibility Stipulated,” “Authenticity
17   Stipulated/Admissibility Disputed,” “Authenticity Disputed,” and “Admitted.” The latter
     column is for the Clerk’s convenience and shall remain blank, but the parties shall indicate the
18   status of an exhibit’s authenticity and admissibility by placing an “X” in the appropriate column.
     Duplicate documents shall not be listed twice: once a party has identified an exhibit in the
19   Pretrial Order, any party may use it. Notwithstanding any prior rulings of the Court, plaintiffs’
     exhibits shall be numbered consecutively beginning with 1; defendant King County’s exhibits
20   shall be numbered consecutively beginning with the next multiple of 100 after plaintiffs’ last
     exhibit, and defendant Molina’s exhibits shall be numbered consecutively beginning with the
     next multiple of 100 after defendant King County’s last exhibit. For example, if plaintiffs’ last
21
     exhibit is numbered 159, then defendant King County’s exhibits shall begin with the number
     200; if defendant King County’s last exhibit number is 321, then defendant Molina’s exhibits
22   shall begin with the number 400.

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